     Case 4:19-cv-03240 Document 12 Filed on 10/11/19 in TXSD Page 1 of 2
                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                   October 11, 2019
                          UNITED STATES DISTRICT COURT
                                                                                  David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


Michael B. Walker, Jr.,                          §
           Plaintiff,                            §
                                                 §
v.                                               § Civil Action No. H-19-3240
                                                 §
Optio Solutions, LLC,                            §
            Defendant.                           §

                             ORDER FOR DISCLOSURE

       By December 5, 2019, in addition to the initial disclosures required by Federal Rule of

Civil Procedure 26, the parties must exchange the documents described in the attached “Initial

Discovery Protocols in Debt Collection Cases.”



       Signed on October 11, 2019, at Houston, Texas.


                                                         _________________________
                                                                  Peter Bray
                                                         United States Magistrate Judge
Case 4:19-cv-03240 Document 12 Filed on 10/11/19 in TXSD Page 2 of 2



  INITIAL DISCOVERY PROTOCOLS IN DEBT COLLECTION CASES

 1. Plaintiff will deliver to Defendant[s]:

            a. Documentation of the “subject debt” identified in the Complaint.

            b. A list of the telephone calls Plaintiff received from Defendant[s] with the

                phone number, time, date and duration of each call.

            c. Copies of voicemail messages left by Defendant[s].

            d. If the calls were recorded, copies of the recordings.

            e. Copies     of    any   written   communications    between    Plaintiff      and

                Defendant[s].

 2. Defendant[s] will deliver to Plaintiff:

            a. Documentation of the debt it was calling Plaintiff about.

            b. A list of telephone calls Defendant[s] made to Plaintiff, with the number,

                time, date, and duration of each call.

            c. Copies of voicemail messages left by Plaintiff.

            d. If the calls were recorded, copies of the recordings.

            e. Copies of all written communications between Plaintiff and Defendant[s],

                including any verification of the debt.

    3. If these categories of documents do not exist, inform the other side of that fact.

    4. Do not file objections to this order.
